Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 1 of 50

 

ADAM CROWN by MR. SHAHAN 50
1 OQ Did there come a time you made a
2 complaint to PESH?
3 A Yes.
4 QO When did you make that complaint?
5 A I don't remember the exact date, went out
6 early in 2010.
7 Q Do you recall the date -- well, withdraw
8 that.
9 When did you start drafting the complaint
10 to PESH?
Lab A In 2009.
12 QO And what was the basis for your complaint
13 to PESH?
14 A I don't recall in detail, I can provide
1S you with the document if you want.
16 QO Can you provide me with a synopsis of
1L/ what the complaint was in your own words?
18 A 1 observed what T believed to he
ig infractions of safety regulations.
20 QO Can you recall any specific infraction?
24 A Officers not wearing their personal
ae proteclive gear to the scene, as an examplc.
23 C Anything else?
oA A Not checking aquipmenl, not proper

 

 

 
ty ONS

an

Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 2 of 50

 

 

ADAM CROWN by MR. SHAHAN BE

Lraining. Training was a major issue.

QO Anything else?

A I don't recall.

QO Handing you what's been marked as Exhibit
15 for identification purposes and ask you to
take a look at that. Is that the complaint that
you filed?

A Yes.

QO Did that indicate if was received by the
Department of Tabor on usec iiihe

A I'm sorry? What was the question?

QO Does that indicate iit was received by the
Department of Labor on March ilth?

A Yes »

Oo And does that indicate on page 2 it was
signed by you on March 5th?

A\ eS.

QO Do you knew when the fire company became
aware of this compiaint?

A No.

0 Did you advise them that you made this
complaint?

A No.

QO bid yeu go to the meeting on Mareh L2th?

 

 
Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 3 of 50

 

ADAM CROWN by MR. SHAHAN 52
L A t’m sorry, which meeting are you
2 referring to?
3 0 Meeting with Chief Gaden on March 12,
4 2010?
5 A No,
6 O I'm handing you what's been marked as
q Bxhibit 9 for identification. Do you recall
8 receiving that letter?
9 A Yes.
10 QO Does that letter advise you you were
del: suspended, correct?
12 A Yes.
13 oO And advised you to attend a Board of Fire
14 Commissioners meeLing on March 23rd, correct?
15 A Correct.
16 O I'm going to hand you what's been marked
17 for identification purposes as Exhibit 10; do you
18 recognize that?
19 A Yess
20 © Ils that your e-mail address?
2] A I'm sorry?
22 QO Is that your e-mail address?
m3 A ZIEVEE Lightning. com?
D&A G Yes.

 

 

 
Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 4 of 50

 

ADAM CROWN by MR. SHAHAN 53

A, A Yes.

2 QO Do you recall receiving that?

5 A Oh, yes.

4 QO What's the date on that e-mail]?

5 A March 14, 2013.

6 O After receiving that e-mail, did you

7 contact Mr. Butler?

8 A TIT don't think so.

9 QO After receiving that e-mail, did you
10 contact counsel?
1 A No.

12 0 Were you aware that that e-mail advises
13 you that you have a right to have counsel present
14 at the meeting of March 23rd, correct?

LG A Correct...

16 QO When you went to the meeting on March
li 23rd, Gid you have counsel with you?

18 A No.

LS QO Did you bring anyone with you to that
20 mecting?

21 A E*m sorry?

22 QO Did you bring anyone with you to that
23 meeLing?

24 A No.

 

 

 
Oo oO

17
18
19
20
2A,
Zee
a

PA

 

ADAM CROWN by MR.

O Did anyon
Withdraw that.

Had you c

Case _5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 5 of 50

SHAHAN 54

e come to Lhat meeting --

ontacted an attorney between the

time that you received the e-mail of March 14th

and the time you
23rd?
A I don't r
Q Did you h
A No.
Q When you
present?
A L don't &
QO Was Mr. B
A Yes.
QO Were memb
Commissioners pre

A T dontt xr

QO Was anyon
A |! don't x
Q When -- WwW

first thing that |
A FLYSst ERD

9 Did there

execculive session?

lattenaed the meeting on March

ecall.

ave an attorney at the time?

arrived at the meeting, who was

ecall.

utler present?

ers of the Board of Fire
sent?

ecall which once.

e else present?

emember .

hat happened -- what was the
happened at the meeting?

ng that happened, I'm not sure.

come a time that you wenl into

 

 

 

 
Case_5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 6 of 50

ADAM CROWN by MR. SHAHAN i

1 A ¥@s.

Z QO What happened in executive session?
3 A I'm not sure where to start with this.
4 Can you rephrase 2S What are you asking, more
5 specifically, perhaps?
6 QO Well, in executive session, was the Board
7 of Fire Commissioners present during executive
8 session?
9 A I believe some of them were.

10 — QO Do you recall] who?

1] A No.

ig QO Do you recall whether Mr. Buller was

i3 present?

14 A Mr. Butler was present.

15 Q Were you present?

16 A Yes.

1? QO Was anyone else present?

18 A T don't recall.

Le O Do you recall what was said to you in

20 executive session in the presence of the fire

21 cammissioners and Mr. Butler?

22 A Yes.

23 O What was said to you?

24 By He setd he was going to give me an

 

 

 
10
LL
12
Ld
14

16
17
18
tS
20
21
Ld.

23

3-6v-00269.FIS-DEP. Document 52-3 Filed 09/15/14 Page 7 of 50

 

Case -$+13-ev
ADAM CROWN by MR. SHAHAN 56
Cpportunity to resign.

QO And were any options given te you if you
did not resign?

A Yes. If I didn't resign, they were going
to defer departmental and criminal charges
against me.

QO What were the departmental charges going
to consist of?

A Misconducl.

O Did they provide you with a copy of any
charges?

A Tes...

QO Handing you what's been marked as Exhibit
11 for identification purposes. Do you recognize
Lhose?

A Yes.

QO Were those the Charges that were given to
you at the March 23rd meeting?

A I believe they are.

0 What happened at that point?

A I'm not sure the order of EALAGS-

Q What's your best recollection as to the
order of things?

A to think first Mr. Butler said to me they

 

 

 
Case-5:13-¢v-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 8 of 50

 

ADAM CROWN by MR. SHAHAN Sy

1 were going to give me an opportunity to resign,

2 end then 1 undertook to record the incident

3 conversation on my records, to which Mr. Butler

4 protested and I finally acquiesced to turn off

5 the tape recorder in order to find out what the

6 meeting was about.

7 OQ Whal happened at that point?

8 | A Then 1 think he presented this paper with
5 these charges and I said I denied the charges,

10 and | wanted a hearing, and i believe it was at
LA that. point that everyone clse left and Mr. Butler
12 and I remained alone.

13 O When he handed you the notice of hearing,
14 which is Exhibit 11, did you read that?
ts A I probably did.
16 0 And you understood that you were going to
EY be provided with a copy pursuant to General

18 Municipal Law?

19 A i think, yeah.

2u OD And you understood there would be a

2d. Stenographic record made of that hearing?

ae A TI didn't know that specifically at the
23 time or nol.
a4 QO T'il put that back in front of you. Ts

 

 

 
OO WO

10
Lt

L3
14
15
16
17

18

se.5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 9 of 50

 

 

ADAM CROWN by MR. SHAHAN 58

that what it says in the second paragraph?

A Here it is, third paragraph, yes.

QO And does it also say that a hearing
officer would be appointed?

A Yes.

QO And that you would have the right to
assistance of counsel?

A Yes.

Q And on the second page, did you have the
right to compel the testimony of the witnesses
through process available through the Danby Fire
Department?

A ¥es.

O And you had a right to a copy of the
stenographic record?

i Yes.

QO And you would have a right to review the
results of the proceeding under Article 78 of the
Civil Practice Law and Rules?

A Yes.

QO Now, at some point Mr. Butler and you
remained in the room by yourselves?

A That 18 correct.

Q All of the fire commissioners left the

 

 
16
ae
18
L3
20
2)
Le.
face

24

Cc

se5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 10 of 50

 

 

ADAM CROWN by MR. SHAHAN  . 59
room?

A Tes),

Q Prior to that point, had you seen a

letter of resignation?

A I don't remember when he showed it Lo me
first...
QO You don't remember whether it was in the

presence of the fire commissioners or had the two
of you met. privately?

A I don't recall.

0 Handing you what's been marked as Exhibit
13 for identification purposes. Do you recognize
thet?

A Yes.

QO Ang is that the letter of resignation you
were given?

A This is the letter I was given.

oO And that letter is an unsigned version of

thal Letter, correct?

A Correct.

0 Nas your address on it?

A Yes, it does.

QO And a place for your signature, correct?

A i beg your vardoen?

 

 
Case. _5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 11 of 50

 

ADAM CROWN by MR. SHAHAN 60
1 0 Has a place for your signature?
2 A lt does.
3 Oo Did there come time that evening that you
4 signed that letter? |
5 A Yes.
6 0 Did you discuss signing that letter with
sf anyone prior to the time you signed it?
8 A Yes.
9 QO Who did you discuss it with?
10 A 1 discussed it with my wife and T
11 discussed it with my colleague, Linda Wyatt.
12 0 Was Linda Wyatt at the meeting?
13 AN She was at the general mectings, she
14 wasn't at the executive session.
Ls © she was at the general fire commissioners
16 meeting?
17 A Yes.
18 QO Was she there al your invitation?
19 A T'm sorry?
20 Oo Was she there at your invitation?
21 A No.
27 QO Sne came of her own accord?
23 A Yes.
24 Q Did she kaow your matter was going +o he

 

 

 
Ss

Gal

10
1]

LZ

14
15
16
ie

oe
v3

74

se 5'13-cv-00269-F.JS-DEP. Document 52-3 Filed 09/15/14 Page 12 of 50

 

 

ADAM CROWN by MR. SHAHAN 6l

on the agenda?

A I don't know.

QO What did you and Linda Wyatt discuss?

A i told her what Mr. Butler had told me
and I asked if she had an opinion.

0 What had Mr. Butler told you?

A He told me if I didn't resign, I was
going to be subject to departmental charges and
criminal charges.

QO When did he tell you that?

A I'm sorry?

QO When did they tell you Lhat?

A He told me that in the course of our
conversation.

QO The course of your privaLe conversation?

A Yes.

0 Anything else you recall about that
private conversation?

A Not offhand.

QO What did Ms. Wyatt say to you?

A She said the fire company is not worth
it, gel oul from under the changes, dom'L (aca
criminal charges. That was her advice.

QO Handing you what's been marked for

 

 
BSB WwW NS

cn

Oo oO ~! mn

EL
EZ
.
14
TS
16
17
18
19
20
21
22
wih

24

se 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 13 of 50

 

A

Q
A

of this

letter?
A
Q
A

0
A

Q
A

Q

A

Q

A

 

ADAM CROWN by MR. SHAHAN 62

identification purposes as Exhibit 14: do you

recognize that?

Yes.

What is that?

This appears to be a copy of the version
document that I signed.

Is there a change to the body of that

Yes.
And what did that change say?

It says, "this shall not include

qualification for running or election as fire

district commissioner.”

is that in your wriling?

No.

Whose writing is that, if you know?
Mr. Butler wrote it.

1

Did Mr. Butler write that at your

request?

No.

Did you and Mr. Butler discuss the fact

you had reservations about giving up your righl

to run as a fire commissioner?

Yeas,

 

 
ise_5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 14 of 50

 

 

ADAM CROWN by MR. SHAHAN 63

Q Did you specifically ask that be included
in the letter?

A No.

0 Did you initial that change to the
letter?

A I. did.

O Did you sign the letter?

A es, L ga.

0 t'm going to hand you what's been marked
for identification purposes as Exhibit 17. Do
you recognize that?

A Yes.

QO What is that?

A, I believe this is an editorial Ii
published on ae blog for --

O Was a link to your biog ever placed on

the fire company's website?

A tl believe so, yes.

QO Who placed it there?

A I'm sorry?

OC Do you know who placed it there?

A No.

Q And in this ediloria’, you refer to a

“pattern of the maladminislration and miseenduct

 

 
Ca

se _5'13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 15 of 50

 

Mm Fe

a

oh

10
id
12
L3

14

16
17
18
13
20
ZY
ae
23

24

 

ADAM CROWN by MR. SHAHAN 64
A Yes
QO "-~ which has run rampant in the fire

district in recent years." Do you see where it
Says that?
A Where were you reading?
Page 1, third paragraph.
Okay. Go ahead, yes.
That's something you wrote, correct?

That is right.

Oo fF OO YF ©

Anyone in the fire district ever make any
effort to prevent you from writing that?

A No.

Oo Anyone in the fire district ever make any
effort to take down your blog site other than
removing il from the fire department's website?

A 1 don't know.

Q Was there ever any attempts to take down
your blog?

A i don't know.

QO None that you're aware of?

A None that I‘m aware of.

QO Since leaving the Danby Fire Department,

have you made any effarte ta dein the olher Fire

 

 
&

A WM

10

12
13
14
LS
Lé
17
18
19
20
21
Ze
a3

2a

Ca

se-5:13-cyv-00269-FJS-DEP_ Document 52-3 Filed 09/15/14 Page 16 of 50

 

 

ADAM CROWN by MR. SHAHAN 65

companies?

A Yes.

Q What fire companies have you atLempted to
join, if any?

A Slaterville Springs.

QO Where is Slaterville Springs located?

A South of Ithaca.

QO How far from your home?

A Approximately five to six miles.

0 Did you fill out an application?

A Yes.
O What was Lhe result of your application?
A My membership was declined.

QO Was 1t declined by a vote of the company
Or was it declined by a membership committee?

A I don't know.

QO Did you ever find out why it was
declined?

A I'm sorry?

0 Did you ever find out why it was
declined?

A No.

QO Did you fill out any other applications?

A No.

 

 

 
an oS fad NO

aI Dh

15
16
V7
18
19
20
21

we

NO

24

5:13-cv-00269-F.JS-DEP Document 52-3 Filed 09/15/14 Page 17 of 50

 

 

ADAM CROWN by MR. SHAHAN GE

QO Who provides fire, first response fire
Servies to your address?

A Danby Fire Department.

O° Do you know whether or not they contract
that out to Brooktondale?

A Yes, they subcontract to Brooktondale.

oO Did you ever attempt to join the
Brooktondale Fire Department?

A No. Actually, come to think of it, I dia
go to Brooktondale.

© Did you fill out an application?

A I don't remember, but I did go over and
Lalk to the chief and get a tour of the station
and that. sorl of thing.

Q Okay. Can you tell me how you have been
caused to suffer humiliation?

A I'm sorry?

QO Can you explain to me how you have been
caused to suffer humiliation?

A Being accused of something I was innocent
of is numiliating.

QO Any other reason?

A T don't. know.

QO How about anauish?

 

 
Case-5:13-cev-00269-FIS-DEP Document 52-3 Filed 09/15/14 Page 18 of 50

 

ADAM CROWN by MR. SHABAN By

1 A I'm sorry, what's your question?

2 O How about anguish; how have you been

3 caused to suffer anguish? What anguish have you

= suffered?

a A Extensive loss of sleep.

6 QO When did you suffer extensive loss of

7 sleep?

8 A Starting around 2009.

2 0 What was the cause of your loss of sleep?
10 A Tl was worried about the things that were
Ll going on at the fire department.

1? QO Can you be a little more specific about
13 “hose things going on with the fire department?
14 A T'm not sure how te be more Speci rie..
Lo QO If you can't be more specific, you can't
16 be more specific.

Ti A i knew that not having a good fire and
18 rescue cotipany was putling a community at

i3 unnecessary risk.

29 QO Were you aware --

Zok A And --

oe QO Go ahead. I'm sorry.

23 A * was concerned that some voerson or one
4 of my colleagues in the fire cempany would be

 

 

 

 
LO
a
12
L3

14

16

Lt

19
2.0
21
Ze
25

24

e 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 19 of 50

 

 

ADAM CROWN by MR. SHAHAN 68

injured, or worse, and that's Lhe only way I was
going to prevent that was to confront the
management of the fire company. And I knew T was
going to take a lot of flack for that if 1 did.
That's just off the top of my head.

QO And this was starting in 2009?

A I beg your pardon?

Oo This was Starting in 2009?

A Yes.

9 Were you aware of any member of the

public who has been injured as a result of a
failure in the event of the Danby Wire Company?
A No.
oO No one has ever told you they have been
injured as a result of the Danby Fire Company?

A Outside of the company?

QO Correct.
A No.
© Has anyone ever filedad @ lawsuit against

the Danby Fire Company that alleged negligence
that caused harm?

A 1 don't know.

O Has anyone ever made comolaints, to your

knowledge, to the ODenartment of Health they were

 

 
Case_5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 20 of 50

 

ADAM CROWN by MR. SHAHAN 69
1 caused harm by the Danby Fire Company?
Z A Not to my knowledge.
3 Q Anyone ever make a complaint to you their
4] house was caused to be more damaged than it need
5 be by a fire as a result of the actions of the
© Danby Fire Company?
7 A No.
8 Q Anyone ever tell you that they were
g suffering an exacerbation of an injury in a motor
10 vehicle accident because of some conduct of the
Ti Danby Fire Company?
12 ‘A No.
La QO According to your complaint, paragraph
14 l7, you -=
1b A i'm sorry, I can't hear.
16 O According to your complaint, paragraph
i7 17, you went door-to-door speaking to people,
18 handed oul flyers and sent e-mails as part of
aA your two campaigns for election to the District
20 Board of Commissioners?
Z1 A Yes.
Ze QO Do you see where it says that? Does Lhat
as refresh your recollection with regard to when you
24 ran for a. position as a commissicner?

 

 

 
10
Ad
Le
13
14
15
16
17
18
19

29

oe
an

24

 

5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 21 of 50

ADAM CROWN by MR. SHAHAN 70

A Yes.

QO Was that 2008 and 2009?

A That is correct.

QO And you were unsuccessful in both
occasions?

A That. is correct,

QO And anybody at the Danby Fire District
ever prevent you from going door-to-door?

A No.

QO Anybody from the Danby Fire District ever
prevent you from handing out flyers?

A No.

QO Anybody from the Danby Fire District ever
impede your campaign in any way?

A No.

QO Anybody that you're aware of?

A No.

0 Anybody ever come to and you tell you
they feit your campaign was being impeded by the
Danby fire commissioners?

A No.

MR. SHAHAN: Those are all of the
guestions I have right now. I['m going to

Tel Mr. Hannigan ask you questions, and I'm

 

 
tad

A

8

19
11
12
L3
14
1
16

se 5:13-cv-00269-F,JS-DEP_ Document 52-3 Filed 09/15/14 Page 22 of 50

 

 

ADAM CROWN by MR. IIANNIGAN Tl

going to go through my notes and make sure
I didn't forget anything.

BXAMINATION BY

MR. HANNIGAN:

0 Good afternoon, Mr. Crown, my name is
Terry Hannigan. I represent Mark Butler in
connection with a lawsuit you brought.

same admoni Lions go, if you don't
understand a question, bring it Lo my attention,
I'd be happy to repeat it or rephrase it. I1f you
do answer a question I'm going to assume, JI think
it's fair we all assume, you understood the
question. If you need the question repeated,
I'll be happy to do that for you.

if you need to speak with Mr. Tsseks at
any point, bring it to my attention. You're not
entitled to take a break to speak to him between
a question and answer, all right? Do you
undersLlLand what I'm saying?

A Yes,

Q Okay. Who was it that you ran against
unsuccessfully in 2908>?

A T don't remember. i think il was Richard

Olt 7.

 

 
10
adths

20
21
22
La

24

Cc

ase 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 23 of 50

 

 

ADAM CROWN by MR. HANNIGAN 72

0 Okay. How aboul in 2009, whe did you run
against unsuccessfully then?

A 1 don't remember. Actually Richard Olty
may have been 2009, I don't remember which is
which.

Oo Okay. Now you joined the fire service in

2007; is that correct?

A That is correct.
0 And the Danby Fire Company was the first
of fire companies you were ever affiliated with;

a8 that correct?

A Yes.

OQ Did you know what time of year it was in
2007 when you joined?

A January.

G And when did you complete Firefighter L?
A i'm serry?
Q When did you complete your Firefighter T

training?
A T beiieve it was in April.
QO Of 2007/7
A Yes.
QO When Goes the Danby Fire Company conducl

its company elecitans and nominations as chief?

 

 
 

Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 24 of 50

ADAM CROWN by MR. HANNIGAN 73
L A December usually.
2 Oo summer ?
3 A December.
4 QO Oh, December. Okay. Did you run for
5 office on a company level in December 2007?
6 A No.
- QO Did you ever hold office, either civil or
8 line officer office, in the Danby Fire Company?
o A No.
10 9 Did you ever run for civil or line
il officer office?
LZ A No, J don't Lhink so.
13 O Now, who was ~~ I apologize, T'm a little
14 confused with my recording of some of your
15 answers.
16 Was Ms. Truttman a member of the Danby
Vi Fire Company before you became a member?
18 A No.
19 QO To gain membership to the Danby Fire
20 Company, ac you have to be sponsored by a member?
2] A 1 aon't think so.
22 QO Do you have Lo have a reference? Does
23 Lhe application require references from current
24 members of the DRanky Pire Company?

 

 

 
16
ET
Le
19
20
2)
22
23

24

C

se 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 25 of 50

 

 

ADAM CROWN by MR. HANNIGAN ; 74

A 1 don't remember.

QO Did you object to Ms. Truttman's
obtaining membership when she first made
application?

A No.

Q Did you object to Ms. Truttman's
completion of her -- withdrawn.

bid you object to Ms. Trultman becoming a
full member after the completion of her

probationary period?

A Yes.
QO You say it was a six-month probationary
period?

A T think that's correct.

QO And L'm looking at Exhibit 3, which is an
e-mail from you to Mr. Borden; is that correct?

A LES

9 And what's the date of that e-mail?

Apwid. 20, 2008.

Oo Pp

Now, 1s that contemporaneous with the
Lime of the vote on Ms. Truttman to come off of
probation and become a full-fledged member of the
Danby Fire Company?

A Yas.

 

 
in

Oo ~

LO
i:
12
13
14
15
16
Lod
18
19
20
ai
Le
a8

24

Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 26 of 50

 

 

ADAM CROWN by MR. HANNIGAN 2S

QO . Can you tel] me or estimate within reason
how long was it before or after Ms. Truttman came
off probation that that e-mail was writlen?

A 1 don't recall. TI would guess it would
be pretty close to the Lime of the meeting.

QO Are we talking days or weeks?

A Days, 1 would guess.

QO And in April of 2008, your relationship
with Ms. Truttman had already debased itself to a
point where you were no longer business partners;
is that correct?

A We were never business partners, we were
involved in a not-for-profit corporation.

QO Well, were you involved in an endeavor
with the Common Horse Sanctuary?

A Yes.

OC Do you consider that something other than
a business pursuit?

A Well, 4£°S Wet-roerpromae.

QO So, you would call it a not-for-profit
pursuit?

A Ves.

Q Hac your relationship with Ms. Truttman

over the not-for-profit nursuan! debased itself

 

 
Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 27 of 50

 

ADAM CROWN by MR. HANNIGAN 76

1 by 2008?

e A T don't understand your question.

3 QO Do you understand the word debased?

4 A I'm ncotl sure what you mean by it.

5 o At some point in time you and Ms.

6 Truttman had a relationship concerning a

7 not-for-profit venture; is that correct?

8 A That is correct.

9 oO You had some understanding, contractual
10 or otherwise, did you not?

deaik A Yes.
12 Q And at some point in time that

Lo relationship ended; is that fairr?.
14 A Yes, that's correct.
15 0 Did that relationship with the
Lo not-for-profit venture end before April 2008?
17 A No.
18 Q As of April 2008, were the two of you
Lg involved in the venture to make the recording?
20 A No, 1 don't think so.
el, Q Had thai. ended before April 2008?
Zn A Yes .
23 QO Were you still, were the two of you still
OA involved in =he Common Horse Sanctuary in April

 

 

 
Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 28 of 50

 

ADAM CROWN by MR. HANNIGAN apy
] 2008?
? A I'm not sure when it really terminated.
3 QO Is there a date or an event you would
4 look to see when the relationship terminated?
5 A I could check our reports.
6 Q What would you be looking for?
i A Minutes of our meetings.
8 0 You're not-for-profit corporations had
9 meeLings?
10 A Yes.
4d, QO How frequently or infrequentiy did you
12 have meetings?
13 A Very infrequently. I don't remember
14 exactly.
15 0 Did your not-for-profit corporation file
16 TRS 890 returns?
TT A T'd have Lo check with our secretary.
Ee Q Who 18 your secretary?
19 A (Indicating).
20 QO You have to verbalize.
24 A My wife.
2 O Can you identify her for the record?
253 A Kathleen Crown.
2A O How many directors were there?

 

 

 
10
il
12
13

14

16
17
18
19
20
at
22,
Ze

24

C

 

 

se_5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 29 of 50
ADAM CROWN by MR. HANNIGAN 18
A Three.
Q Yourself, your wife and Ms. Truttman?
A That is correct.
QO Were there any other officers or

shareholders of the corporation?
A No.
QO Were there any employees of the

corporation?

A No.

QO Did you dissolve the corporation at some
point?

A No.

O You indicate, I believe, in response to a

guestion Mr. Shahan asked you, that you had
discussion with Simon Wyatt and told him about

contradictions in Ms. tirultman's behavior?

A Yea.

Q Do you remember an answer to that effect?
A Yes.

Q Did T fairly repitulate that?

A That's fine.
Q What were the contradicticns in her
benavior you told Mr. Wyatt about?

A I pointed ont Limes when she Lied ahout.

 

 
Case-5:13-cv-00269-F.JS-DEP Document 52-3 Filed 09/15/14 Page 30 of 50

 

ADAM CROWN by MR. HANNIGAN | 79

1 things. I pointed out times when she failed to
Z keep her word on things.

3 Q Did that relate to fire company or fire

4 aepartment business?

5 A Some of them.

6 QO Give me an example of one.

a A T'm sorry, it's been a long time, | might
8 have to look that up in my notes.

9 / What would you be looking at to reference
LO that?
11 A E-mails to see if 1 had anything that {|
12 sent to Simon.
13 QO Did you have a similar discussion --
14 Sor Ys
LS Did you have a similar communication with
36 Linda Wyatt concerning Ms. Truttman's behavior?
ly Av OSs z
18 oO Did you have communications with anybody
if other than Simon Wyatt and Linda Wyatt about Ms.
20 Truttman's contradictions in her behavior?
21 A Yos..
22 QO To whom?
os A With my wife,
24 QO Anyone eise?

 

 

 
12
13
14
LS
16
Ld
18
19
Au)
21
Le

£3

Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 31 of 50

 

 

ADAM CROWN by MR. HANNIGAN 80

Saran Wyatt.
Sarah Wyatt?
Sarah Wyatt.

Sarah Wyatt, I'm sorry.

> OO PrP © Pp

And I think Tim Wyatt. Let mo think, is
there anything else. I don't recall anyone else.

QO Before you came here today, had you ever
seen Crown Exhibit 2, which is the letter
authored by Simon Wyatt?

A T'm sorry, what was your question?

0 Before you came here today, have you ever
seen that?

A This letter (indicating}?

Q That is Exhibit ?.

A No. No.

Q Do you know generally what the subject
matter cf that letter is, having read it. today?

A Not really.

QO Can you tell from your own review of that
letter whether Mr. Wyatt is endorsing or opposing
Ms. Truttman's application?

A Ne Shems Co De encersing MS. Truipien.

QO ‘Ss there any doubt in your mind that

letter relates to Mal PTrubtiney and her membershir

 

 
Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 32 of 50

 

 

ADAM CROWN by MR. HANNIGAN 8]
1 in the Danby Fire Company in coming off the
2 probationary period?
3 A No. It appears to be directed towards
4 that.
5 QO You understand -- withdrawn.
6 It's your understanding that, and it was
7 your experience, was it net, that after six
8 months of probalionary membership, the membership
9 would again vote on whether a particular person
10 should remain a member of the Danby Fire Company?
11 A Yes.
1? QO When was the first time you met Mark
dd Butler?
14 A He taught a class called legal issues in
LS the fire service that I attended.
16 QO Where did you take that?
17 A At the fire academy itn MonLlour Falls.
18 QO When did you Lake thal?
19 A i don't recall the date.
20 Q Was it in 2007, your first year?
ou A l'm sorry, I don't remember.
ae O Do you know if it was before or after the
“3 first time you ran for commissioner?
24 A 1 don't remember.

 

 

 
10
1]
i2
13

14

16
Hd
18
Lg
20
2d
De
23

24

Case 5:13-cy-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 33 of 50

 

 

ADAM CROWN by MR. HANNIGAN 82

O Do you know how long the course was, how
long it took?

A I don't recall. I think it was either a
one or two-day course.

QO And as part of that course, did Mr.
Butler ask you to, in the very beginning of the
course, identify yourself, your fire department
membership and how many years you have been
involved in the fire service?

A IT don't remember, probably.

QO Deo you have any idea what your response
was with respect to how many years you have been
in the fire service, when and if you were asked
that question?

A No.

Q Did you take legal issues before or after
you completed Firefighter I?

A II was after.

QO Did you take it before or after you
completed Fire Officer i?

A I don't remember.

0 Did you ever take a course called
Tnlroduction to Fire Officer?

AN Yes.

 

 
10
1]

12
13
14
id
16
ie

Cc

se 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 34 of 50

 

 

ADAM CROWN by MR. HANNIGAN g3

Oo And you didn't mention that in the
lasting of courses.

A Sorry.

0 You took Intro to Officer and you took

Fire Officer IT?

A Yes.

0 Where did you take Intro to Fire Officer?

A Thal was at the local --

QO Was that at the county?

A Yes.

0 The county training facility for what
county?

A Tompkins County.
QO And where did you take Fire Officer 11?
A At the academy.
QO That's the Academy of Fire Science in
Montour Falls?
A That is correct.
What county is that in?
T don't know.
Is it. in Tompkins County?
1 don't know.

Where did you take fire investigation?

FO FP ODO F DO

At tne acedemy.

 

 
8

160
Li

TZ.

19
Z0
21
22
23

24

C

 

se 5:13-cy-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 35 of 50

ADAM CROWN by MR. HANNIGAN B84

A
Q

A

Q

How about truck company ops, operations?
That was county.

Calling Mayday?

County.

Building construction?

County.

Was that noncombustible, building

construction noncombustible?

record?

A

QO

A

Q

TE ce

Do you have a copy of your training

Yes.

When was the last -- when was the Last

course you took before you enrolled in Fire

Officer TIT?

A

QO

Sorry, I don't remember.

Can we agree you were enrolled in fire

officer in January 2010?

was

A
Q
A

QO

YES.
Did that course begin in January 2019?
Il tRLak wo.

Bo you recali what the last county course

thal you took?

A

I den't recall.

 

 
Noe

LO
it

b2

14
1D
16
wi

18

NO Mo NO?
No K+ a)

NO
Lat

Cc

ase 5:13-cyv-00269-F.JS-DEP Document 52-3 Filed 09/15/14 Page 36 of 50

 

 

ADAM CROWN by MR. HANNIGAN 85
Q Did you take any training courses in

20097
A. Bice
QO Do you Know what course you took in 2009?
A No, I'm sorry.
0 J think you already, I may have been

mistaken, were you able Lo state when you took
legal issues?

A No.

QO You're not sure Apu that. But you
definitely took it at the Academy of Fire
Science?

A COrrect ;

OQ ls that the only course you took with
instructor Butler?

A Yes.

Q Did you have any communications with

Instructor Butler after the course was completed?

A No.
OC Did he, at the completion cf the course,

dic instructor Butler give you an e-mail address
and phone number to contact him if you had any
questions?

A No.

 

 
oe)

tr

10
11
12
ce
14
Lo
16
V7

18

Cc

se_5'13-cv-00269-F.JS-DEP Document 52-3 Filed 09/15/14 Page 37 of 50

 

 

ADAM CROWN by MR. HANNIGAN 86

QO At the time you took legal issues, were
you aware that Instructor Butler was the counsel
to the Danby Fire District?

A No.

Q When did you first become aware Mr.
Butler was counsel to Danby Fire District?

A I don't remember. His name was on a
legal document representing the district, maybe
it was something they sent me. JT don't remember,
it was sometime later.

0 Take a look at Exhibit 10, if you would,
I apologize having to shuffle paper across the
Lab.Le .

A That's fine.

0 Were you aware that Mr. Butier was
counsel to the fire district before March of, the
March 14, 2010 e-mail from Diana Bowles?

A To might. have been.

O You received the e-mail from Ms. Bowles,
that's Exhibit 10°?

A That. is correct.

QO Did you ever file a complainl against Mr.
Butier with 8th Judicial District?

Ay Oh, | wonder if that's -- I'm not eure.

 

 
ase _5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 38 of 50

 

ADAM CROWN by MR. HANNIGAN a7

1 Q Did you ever file a complaint with Mr.

z Butler with some type of oversight agency with
3 attorneys and judges?

4 A YOS »

DD Q When did you do that?

6 A Subsequent to the events of March 23,

7 2010.

8 Q Did Mr. Butler ever represent you in a

9 legal capacity?
10 A No.
I i 0 Whal was your basis for the complaint

1? with the determining oversight committee?

13 A I don't recall the delails right offhand,
14 I can produce that for you if you'd like.

LS oO Generally, what was the nature of your
lo complaint?
17 A That he did not conduct himself

18 according, with their standards in terms of his
19 relationship with me at the March 23, 2010

20 meeting.
21 QO And whal specifically did you contend ~--
2? withdrawn.

23 how was it. that you state he did not
24 comport with the Standards of Professiona!

 

 

 
Gase 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 39 of 50

ADAM CROWN by MR. HANNILGAN 88

] Conduct in the review?

Z A The one thing that | recall specifically

3 is that I believe it states attorneys are not

4 allowed Lo use the threat of criminal charges as

2 leverage in a civil manner. And so that one j

6 remember exactly.

7 I went through their code and that's what

8 I found there.

9 OQ You did some research with respect to the
10 Code of Professional Responsibility or whatever
i) the ethical code was at the time?

2 A I read it.

13 O Have you had some training as a paralegal
14 then?

iS A That came later, that’s --

16 O And in fact, some of your correspondence,
7 for cxample, Exhibit 12, you cite statutory

18 authority, do you not?

19 A Yes.

20 Q And 1s that as a result of research you
21: did?

22 A Yes..

23 QO What's the date on that correspondence?
2G A Marer 12, 2609.

 

 

 
Case 5:13-cv-00269-F.JS-DEP Document 52-3 Filed 09/15/14 Page 40 of 50

ADAM CROWN by MR. HANNIGAN 89
if QO That was a year before your dealings with
Ze Mr. Butler; is that right?

2 A I'm sorry. I'm not sure what you mean.
4 Q Your first encounter with Mr. Butler,
5 Other than an educational setting, was in March
6 ef 20107 as that. correct?
7 A Thab 25 correct.
8 QO March of 2009, at least through what we
9 have pefore us is Exhibit 10 -- that is 10,
10 right?
11 A i.
jo QO 12, T'm sorry. There's some indicia you
13 had some ability to research and cite authority;
14 is that correct?
£5 A That is correct.
16 0 And in fact, Exhibit 16, which was your
17 e-mail exchange with Chief Gaden, you also cited
18 the New York State Town Law with respect to the
9 authority of chiefs; isn't that right?
20 A That is correct.
ZA 0 And as Tf read Exhibil 16, in the second
Le ast I believe it's the second paragraph from the
23 bottom. You request that the chief provide you
oa with a netice of charges?

 

 

 
Case 5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 41 of 50

 

ADAM CROWN by MR. HANNIGAN 30
L A Yes.
2 QO And was that done on March the 23, 2010?
3 A Yes.
4 Go And what's the date of that e-mail to
5 Chief Gaden?
6 A March 10, 2010.
7 0 Now, when you arrived at the Lirehouse on
8 March 23rd, was the meeting of the Board of Fire
9 Commissioners alneady ih, $4857.0n ?
LO A I don't recall.
11 0 Had you attended meetings of the Board of
12 Fire Commissioners on prior occasions?
13 A Yes.
14 O How generally do they commence the
15 meetings?
16 A I'm not sure 1 can say.
17 QO Dees Lhe chairman call the meeting Lo
18 order?
1:9 A Yes.
20 Q And do you know if you were at the
aa meeting on March 23rd when the chairman called
Lik the meeling Lo order?
eo A 1 think I was, yes.
24 C And then ai seme point did Lhat meeting

 

 

 
Cas

8

LO
id
1?
13

14

16
L?
18
La
Zu
21
22
23

OA

3-¢6v-00269-FJS-DEP. Document 52-3. Filed 09/15/14 Page 42 of 50

 

 

VY" Covey

ADAM CROWN by MR. HANNIGAN 91

retire inlo executive session?

A Yes.

QO Were you invited into the executive
Session?

A Yes.

Oo Were you given explanation as to why the
board was retiring to executive session?

A No.

QO Did you understand when they were going
into executive session it was to discuss the
matter of the charges against you?

A TSS.

QO And were you aware of Lhat -- withdrawn.

Anybody besides you go into executive
session, besides you and the beard, with Mr.
Buller?

A Not to my knowledge.

QO When you went into executive session, did
the board, when the board went into executive
session, did they leave the meeting room where
the meeting customarily was held and go into
another room?

A LOS:

QO And you went with them?

met

 

 
Ca

10
il
12
13
14
is
16
17
18
Lo
20
21
Cove

23

NO
ay

 

Hment52-3 Filed 09/15/14 Page 43 of 50

Be 5: 13-ctv-00268-FIS-DEP—Beeumen
ADAM CROWN by MR. HANNIGAN 92
A Yes ;
Q And was it at Lhat point in time you

produced a recorder to record the executive
session?

A Pretty much.

O And were you told they don't record
executive sessions, recording is not permitted?

A Yes.

0 Did Mr. Butler tell you that?

A Yes,

QO Did he tell you that's a matter of
policy, the district doesn't allow Cape recording

of executive sessions?

A | believe that's what he said.
QO Did you accept that explanation?
A T'm not sure what you mean.

QO Did you turn off the recorder at that
point in time?

A Yes.

Co And based upon your training and legal
issues with the fire service, are you aware the
board of Fire Commissioners has the autnority to

of the fire company?

a

Set. PULes end poldecie

A Yes.

 

 

 

 
Ca

N

10
1]
12

14
bd

16

~~

No N?

Decument 52.3 Filed 09/15/14 Page 44 of 50

ADAM CROWN by MR. HANNIGAN 93

QO Did you accept the fact that the board,
as a matter of policy, does not allow recording
in executive session as one of those policies?

A Did I accept it?

Oo Did you accept it, did you understand
that to be the case?

A i know I understood that, yes.

QO Lt think you indicated that during the
course of the executive Session, you were
presented with the charges; is that correct?

A That is correct.

Q And then did the board then return to the
regular meeting?

A Yes).

QO Did you have any discussion with any of
the board members before they left executive
session and returned to the regular meeting?

A No.

QO Did you have a discussion with Mr. Buller
in the presence cf the board betore they returned
to the regular meeting?

A I den't think so.

CG bid you, during the course of the

execulive session, were yay given the charqes and

 

 

 

 
WI BQ be

17
18
19
20
24
a
go

24

Se-5:13-cv-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 45 of 50

 

 

ADAM CROWN by MR. HANNIGAN 94

the notice of hearing, which are Exhibit 11?
MR. HANNIGAN: Is that the notice of
hearing?
MR. SHAHAN: Yep.

MR. HANNIGAN: Is that the charges,

too?
MR. SHAHAN: Yep.
A I'm sorry. What's the question again?
© During the course of executive session,

were you given a copy of Exhibit 11?

A Yes.
QO Did you review it in executive session?
A Did I review it?
QO Did you personally review it?
A Yes.
QO At any point in that evening, did you
show it to Linda Wyatt?

A i don"t  2eoa Ll.

QO At any point in that evening, did you
read it to your wife over the phone or otherwise?

{ don't recall.

ae

O Did you discuss the matter ot what was
contained in tho notice of charges or statement

of charges. and the notice of hearing with anybody

 

 
10
11
12
13

14

16
Ll
18
L?

20

Ca

 

se-5:4+3-6+00269-FJS-DER- Document 52-3 Filed 09/15/14 Page 46 of 50

 

ADAM CROWN by MR. HANNIGAN SS

other than Linda Wyatt and your wife that

evening?
A No.
Q Where did you. have your discussion with

Linda Wyatt?

A In the corridor between the gencral
meeting room and the room we held the executive
SOS5 1 Gs

Oo Was Linda Wyatt waiting outside of the
room where the executive session was when the
door was open?

A T don't know.

oO bid she ever say she was attempting to
listen to what was going on in executive session?

A it don't recall.

Oo Did she ever tell you that?

A I don't think so.

Q After the board returned to the regular
meeting, did you remain and have a discussion
With Mr. Butler?

A I'm sorry?

0 After the board returned Lo the regular
meeting, Gid you remain in the conference room

and have 4 discvesion with Mr. Buller?

 

 
Cape-5:43-¢v-00269-FJS-DEP Document 52-3 Filed 09/15/14 Page 47 of 50

ADAM CROWN by MR. HANNIGAN 96
te A | Yes.
Z Q And did Mr. Butler say anything to you
3 about the manner about what change is effected in
4 the fire service?
5 A lm serry.
6 0 Did Mr. Butler have any discussion with
7 you as to how change is effected in the fire
8 service?
9 A Yes.
LO QO And what do you recall him saying
11 specifically?
12 A T think he said that, no, wait, I don't
13 want. to misremember this. He said 1 had
i4 alienated Loo many people.
Ly 0 Did he say anything about change being
16 effected in a parlicipatory, rather than
17 adversarial, confrontational fashion?
18 A No.
is QO Did he say anything to you about
20 effecting change in a participatory and
ee contributory fashion, rather than a
22 confrontational and challenging fashion?
wo A No.
24 Q Did you ask Mr. Butler what was going to

 

 

 
 

 

Case5:13-ev-60269-FJS-DEP—Document 52-2 Filed 09/15/14 _Page 48 of 50
ADAM CROWN by MR. HANNIGAN g'/

] happen if the charges were levied?

2 A I'm sorry?

a O Did you ask Mr. Butler what was going to
4 happen if the charges were levied against you?

5 A No, not really.

6 QO Did you understand what the Process was

P, once the initiation of charges was levied?

8 A Yee.

9 Q That necessarily involved a hearing?
10 A You're talking about the Aebactmentell
dd charges?
12 QO i'm talking about the district's charges,
13 Lhe ones in your hand.
14 A Le" s V1,
TS QO 41. Did you know what the process was?
1G A Yes .
17 QO Had you actually -- had thal been bart Gf
18 the curriculum of legal issves when you Look it
ba at the fire academy?
20 A No.
21 OC Was there any instruction at ali on
DP 209(T,), General Municipal Law 209(71}, in the
25 Legal Issues I curriculum?
24 A [ don't recai! senending vary ™nch -ime on

 

 

 
CJ AD Re

on

10
11
Le

No ~ MN
N ‘eal 3 Lo

MON
ws)

 

 

ERP—Document 52-3 Filed 09/15/14 Page 49 of 50

e5:43-ev-80269-FIS-D
ADAM CROWN by MR. HANNIGAN 98
at; fe.
O Do you remember spending any time on it?
A I can't recall.
O Did you know that evening, the evening of

March 23rd, you would be entitled to hearing?

A Did I know that at the time?

QO es,

A Yes.

© Did you know you would be entitied to be
represented by counsel?

A Yes.

Q And did you know you would be entitled to
call witnesses?

A Yes.

QO You understood this during the course of
the executive session, or the period of time you
were meeting with Mr. Butler; is that right?

A Yes.

0 Yet, al some point in time you opted to
resign instead of going forth with Lhe hearing;
is that right?

A No.

0 You did not agree to resign on March

S22

 

 
10
Le
I2
13
14
1d
16
17
18

20
od.
Ake
Le

Za

 

 

9-FIS-DEPR—Decument 52-3 Filed 09/15/14 Page 50 of 50

rAQ ROO
CGC U.LOTCVroozZo vo t

ADAM CROWN by MR. HANNIGAN 99

A That's not why I agreed to Les Lom.

Q Did you agree to resign on March 23,
2010?

A JI signed a document.

Q Was hat document a resignation?

A Tt was.
@) And did you submit that resignation to
the Board of Fire Commissioners as your

resignalion from the fire district.

A Tes),

Q And it bears your signature; is that
right?

AY Yes.

Oo And there was a handwritten change, |

Chink you attributed to Mr. Butler, that
indicated, in words or Substance, the resignation
would not affect your ability to run for fire
commissioner at any time in the future; is that

correct?

A that is correct.

QO That's a change you requestea?
A No.

QO Was being able to run for fire

comm? ssioner a concern you raised in your meeting

 

 
